
36 N.Y.2d 947 (1975)
In the Matter of the Claim of Cornelius Lipsky, Appellant. Louis L. Levine, as Industrial Commissioner, Respondent.
Court of Appeals of the State of New York.
Submitted June 2, 1975.
Decided June 16, 1975.
Stephen D. Smyk for appellant.
Louis J. Lefkowitz, Attorney-General (Irving Jorrisch, Samuel A. Hirshowitz and Murray Sylvester of counsel), for respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI and WACHTLER. Judges JONES and FUCHSBERG dissent and vote to reverse on the dissenting opinion by Presiding Justice J. CLARENCE HERLIHY at the Appellate Division. Taking no part: Judge COOKE.
Order affirmed, without costs, on the opinion by Mr. Justice ROBERT G. MAIN at the Appellate Division.
